            Case 1:21-cv-01444-RDM Document 1 Filed 05/27/21 Page 1 of 7




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                        )
 AMERICAN OVERSIGHT,                    )
 1030 15th Street NW, B255              )
 Washington, DC 20005                   )
                                        )
                             Plaintiff, )
                                        )
 v.                                     )                 Case No. 21-cv-1444
                                        )
 U.S. DEPARTMENT OF EDUCATION,          )
 400 Maryland Avenue SW                 )
 Washington, DC 20202                   )
                                        )
                            Defendant. )
                                        )

                                         COMPLAINT

       1.      Plaintiff American Oversight brings this action against Defendant U.S.

Department of Education under the Freedom of Information Act, 5 U.S.C. § 552 (FOIA), and the

Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, seeking declaratory and injunctive

relief to compel compliance with the requirements of FOIA.

                                JURISDICTION AND VENUE

       2.      This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B)

and 28 U.S.C. §§ 1331, 2201, and 2202.

       3.      Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B) and 28 U.S.C.

§ 1391(e).

       4.      Because Defendant has failed to comply with the applicable time-limit provisions

of FOIA, American Oversight is deemed to have exhausted its administrative remedies pursuant

to 5 U.S.C. § 552(a)(6)(C)(i) and is now entitled to judicial action enjoining the agency from




                                                1
            Case 1:21-cv-01444-RDM Document 1 Filed 05/27/21 Page 2 of 7




continuing to withhold agency records and ordering the production of agency records improperly

withheld.

                                            PARTIES

       5.      Plaintiff American Oversight is a nonpartisan, non-profit section 501(c)(3)

organization primarily engaged in disseminating information to the public. American Oversight

is committed to promoting transparency in government, educating the public about government

activities, and ensuring the accountability of government officials. Through research and FOIA

requests, American Oversight uses the information it gathers, and its analysis of it, to educate the

public about the activities and operations of the federal government through reports, published

analyses, press releases, and other media. The organization is incorporated under the laws of the

District of Columbia.

       6.      Defendant U.S. Department of Education (Education) is a department of the

executive branch of the U.S. government headquartered in Washington, DC, and an agency of

the federal government within the meaning of 5 U.S.C. § 552(f)(1). Education has possession,

custody, and control of the records that American Oversight seeks.

                                   STATEMENT OF FACTS

                               White House Communications FOIA

       7.      On August 24, 2020, American Oversight submitted a FOIA request to Education,

seeking the following:

               All email communications (including emails, email attachments,
               calendar invitations, and calendar invitation attachments) between
               (a) the Education officials specified below and (b) White House
               officials specified below:

               Education officials:
                   i.  Betsy DeVos, Secretary of Education
                  ii.  Nathan Bailey, Chief of Staff



                                                 2
            Case 1:21-cv-01444-RDM Document 1 Filed 05/27/21 Page 3 of 7




                  iii.   Mitchell Zais, Deputy Secretary
                  iv.    Kent Talbert, Senior Advisor to the Deputy Secretary
                   v.    Robert King, Assistant Secretary, Office of Postsecondary
                         Education
                  vi.    Anyone serving as a Senior Advisor in the Office of
                         Postsecondary Education, including but not limited to John
                         Huston
                 vii.    Anyone serving as White House liaison

               White House officials:
                  i.   Stephen Miller, Senior Advisor for Policy (including but
                       not       limited     to       the      email      address
                       stephen.miller@who.eop.gov)
                 ii.   Robert Gabriel, Jr., Director of the Office of the Senior
                       Advisor for Policy (including but not limited to the email
                       address robert.gabriel@who.eop.gov)
                iii.   Jennifer Cytryn, Assistant to the Senior Advisor for Policy
                       (including but not limited to the email address
                       jennifer.cytryn@who.eop.gov)

               Please provide all responsive records from March 27, 2020, to
               June 17, 2020.

       8.      By email sent August 25, 2020, Education acknowledged receipt of American

Oversight’s FOIA request and assigned it tracking number 20-02321-F.

       9.      By email sent August 25, 2020, Education stated that it updated the status of

American Oversight’s request to “In Process.”

       10.     By letter dated September 23, 2020, Education stated that it had forwarded

American Oversight’s request to the appropriate offices within the department and that it aimed

to complete the request as promptly as possible.

       11.     As of the date of this Complaint, American Oversight has not received any further

communications from Education regarding this request.

                                        Key Terms FOIA

       12.     On August 24, 2020, American Oversight submitted a FOIA request to Education

seeking the following:



                                                   3
         Case 1:21-cv-01444-RDM Document 1 Filed 05/27/21 Page 4 of 7




              All email communications (including emails, email attachments,
              calendar invitations, and calendar invitation attachments) sent from
              (a) the individuals specified below to (b) any email address ending
              in .com, .org, .net, .mail, or .edu, containing any of the following
              terms:

                      i.   “CARES Act”
                     ii.   “Higher Education Emergency Relief Fund”
                   iii.    HEERF
                    iv.    “emergency financial aid”
                     v.    “coronavirus relief”
                    vi.    Undocumented
                   vii.    “illegal immigrant”
                  viii.    “illegal alien”
                    ix.    “international student”

              Specified individuals:
                    i.   Betsy DeVos, Secretary of Education
                   ii.   Nathan Bailey, Chief of Staff
                  iii.   Mitchell Zais, Deputy Secretary
                  iv.    Robert King, Assistant Secretary,            Office   of
                         Postsecondary Education

              Please provide all responsive records from March 27, 2020 to
              June 17, 2020.

       13.    By email sent August 25, 2020, Education acknowledged American Oversight’s

request and assigned it tracking number 20-02322-F.

       14.    By email sent September 4, 2020, Education stated that it updated the status of

American Oversight’s request to “In Process.”

       15.    As of the date of this Complaint, American Oversight has not received any further

communications from Education regarding this request.

                             Exhaustion of Administrative Remedies

       16.    As of the date of this Complaint, Education has failed to (a) notify American

Oversight of any determination regarding its FOIA requests, including the scope of any

responsive records Education intends to produce or withhold and the reasons for any




                                                4
          Case 1:21-cv-01444-RDM Document 1 Filed 05/27/21 Page 5 of 7




withholdings; or (b) produce the requested records or demonstrate that the requested records are

lawfully exempt from production.

        17.    Through Education’s failure to respond to American Oversight’s FOIA requests

within the time period required by law, American Oversight has constructively exhausted its

administrative remedies and seeks immediate judicial review.

                                         COUNT I
                             Violation of FOIA, 5 U.S.C. § 552
               Failure to Conduct Adequate Searches for Responsive Records

        18.    American Oversight repeats the allegations in the foregoing paragraphs and

incorporates them as though fully set forth herein.

        19.    American Oversight properly requested records within the possession, custody,

and control of Defendant.

        20.    Defendant is an agency subject to FOIA and must therefore must make reasonable

efforts to search for requested records.

        21.    Defendant has failed to promptly review agency records for the purpose of

locating those records that are responsive to Plaintiff’s FOIA requests.

        22.    Defendant’s failure to conduct adequate searches for responsive records violates

FOIA.

        23.    Plaintiff American Oversight is therefore entitled to injunctive and declaratory

relief requiring Defendant to promptly make reasonable efforts to search for records responsive

to Plaintiff’s FOIA requests.

                                        COUNT II
                             Violation of FOIA, 5 U.S.C. § 552
                       Withholding of Non-Exempt Responsive Records

        24.    American Oversight properly requested records within the possession, custody,




                                                 5
             Case 1:21-cv-01444-RDM Document 1 Filed 05/27/21 Page 6 of 7




and control of Defendant.

       25.      Defendant is an agency subject to FOIA and must therefore release in response to

a FOIA request any non-exempt records and provide a lawful reason for withholding any

materials.

       26.      Defendant is wrongfully withholding non-exempt agency records requested by

Plaintiff by failing to produce non-exempt records responsive to Plaintiff’s FOIA requests.

       27.      Defendant is wrongfully withholding non-exempt agency records requested by

Plaintiff by failing to segregate exempt information in otherwise non-exempt records responsive

to Plaintiff’s FOIA requests.

       28.      Defendant’s failure to provide all non-exempt responsive records violates FOIA.

       29.      Plaintiff American Oversight is therefore entitled to declaratory and injunctive

relief requiring Defendant to promptly produce all non-exempt records responsive to Plaintiff’s

FOIA requests and provide indexes justifying the withholding of any responsive records

withheld under claim of exemption.

                                     REQUESTED RELIEF

WHEREFORE, American Oversight respectfully requests the Court to:

       (1) Order Defendant to conduct a search reasonably calculated to uncover all records

             responsive to American Oversight’s FOIA requests identified in this Complaint;

       (2) Order Defendant to produce, within twenty days of the Court’s order, any and all non-

             exempt records responsive to American Oversight’s FOIA requests and Vaughn

             indexes of any responsive records withheld under claim of exemption;

       (3) Enjoin Defendant from continuing to withhold any and all non-exempt records

             responsive to American Oversight’s FOIA requests;




                                                 6
        Case 1:21-cv-01444-RDM Document 1 Filed 05/27/21 Page 7 of 7




      (4) Award American Oversight the costs of this proceeding, including reasonable

         attorneys’ fees and other litigation costs reasonably incurred in this action, pursuant

         to 5 U.S.C. § 552(a)(4)(E); and

      (5) Grant American Oversight such other relief as the Court deems just and proper.



Dated: May 27, 2021                                Respectfully submitted,

                                                   /s/ Mehreen Rasheed
                                                   Mehreen Rasheed
                                                   D.C. Bar No. 144880
                                                   AMERICAN OVERSIGHT
                                                   1030 15th Street NW, B255
                                                   Washington, DC 20005
                                                   (202) 848-1320
                                                   mehreen.rasheed@americanoversight.org

                                                   Counsel for Plaintiff




                                               7
